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Exhibit C
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Rent Due ces : eS a
August PAID
September oS PAID

Getober: 2 ; Bs § $452.0

November. . $8 )A52,0

2nd Half 2023 CRE Taxes $.. 46404

Agctued Storm Water Fees : 2469.6

Legal. Fees

Legal Fee Estimate Through 11/9/23 ($  4p00.9

Repairs Expense. :

General Cleaning 0 s.. : 5,655
Concrete Floor Crack Repairs Ee 8,961.
"Exterior Concrete Repairs oo 9,067

Structural Steel Assessment & Repair Be BAL

Metal Rallings nos 6,187
: Remove & Replace Doors, Fraries, Hardware 3,248

Repair & Replace Overhead Doors $. 6291

Clean & Seal Existing Concrete Floor .. |» 43,623
Interior Finishes ~ Orywall, Paint, Floors S$... 38,772

Repair Dock Bumpers. g 7,188

Metal Building Repairs (Including Insulation). vo $73,492
Plumbing Repairs : ppl 17,680
HVAC Repairs IE oak S S446

Electrical Repairs. - eo 26,847.

: : : 23,573
Cee ee

